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                                     National Officers & Departments
                                                 A warning about Hoax Emails


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